          Entered on Docket July 10, 2017
                                                       Below is the Order of the Court.


                                                          _______________________________
                                                          Marc Barreca
                                                          U.S. Bankruptcy Judge
                                                          (Dated as of Entered on Docket date above)




     ________________________________________________________________




1                        IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF WASHINGTON, AT SEATTLE
2

3    In re:                                           )     Case No. 12-11140 MLB
                                                      )     Chapter 7
4    KENT DOUGLAS POWELL and                          )
     HEIDI POWELL,                                    )     ORDER DENYING WITHOUT
5
                                                      )     PREJUDICE TRUSTEE’S MOTION FOR
6                    Debtors.                         )     SALE OF DOMAIN NAME
                                                      )
7

8             Trustee, Dennis Lee Burman, moved to sell a domain name. Debtors objected. A
9    hearing was held on March 22, 2017. The Court took the matter under advisement. On May 4,
10   2017 the Court issued its oral ruling by a telephonic conference call with the Trustee and the
11   attorney for the Debtors, Tom Lester.
12            The Court now incorporates by reference herein its oral findings of fact, conclusions of
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     law, and rulings on May 4, 2017. Now, therefore,
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              IT IS ORDERED that Trustee’s motion to sell the domain name
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     https://www.heidipowell.com is denied without prejudice. Should Trustee bring another motion
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17   to sell the domain name, he shall make clear in his motion and notice that he intends on selling

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                                                                               Dennis Lee Burman, Attorney at Law
20                                                                                              1103 Ninth Street
                                                                                                   P.O. Box 1620
     ORDER DENYING WIHTOUT PREJUDICE                                                        Marysville, WA 98270
21   TRUSTEE’S MOTION FOR SALE OF DOMAIN NAME -                                             Phone (360) 657-3332
     1                                                                                      Fax (360) 657-3522
22    Case 12-11140-MLB           Doc 72     Filed 07/10/17        Ent. 07/10/17 08:51:38              Pg. 1 of 2
1    the contract rights associated with the domain name; and he shall notify GoDaddy and all the
2
     creditors of the proposed motion.
3
                                              ///END OF ORDER///
4

5
     Presented by:
6
     /s/ Dennis Lee Burman
7    _________________________________
     DENNIS LEE BURMAN, WSBA #7875
8
     Trustee in Bankruptcy
9    Copy received, notice of presentation
     waived, and approved for entry:
10
     /s/ Tom Lester by Dennis Lee Burman per 7/6/17 email authorization
11
     ______________________________
12   TOM LESTER, WSBA #15814
     Attorney for Debtors
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                                                                       Dennis Lee Burman, Attorney at Law
                                                                                        1103 Ninth Street
                                                                                           P.O. Box 1620
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